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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 U.S. NAVY SEALs 1-26, et al.,                   §
                                                 §
      Plaintiffs,                                §
                                                 §
 v.                                              §    Civil Action No. 4:21-cv-01236-O
                                                 §
 JOSEPH R. BIDEN, JR., et al.,                   §
                                                 §
                                                 §
      Defendants.                                §


                                             ORDER

         Before the Court is Plaintiffs’ Motion for Classwide Preliminary Injunction (ECF No. 104),

filed February 7, 2022. Plaintiffs allege that the class and subclasses face irreparable harm due to

violations of their religious liberty rights. ECF No. 105. Accordingly, Defendants are to respond

to this request no later than February 23, 2022, and Plaintiffs are to reply no later than February

28, 2022.

         SO ORDERED on this 7th day of February, 2022.



                                                      _____________________________________
                                                      Reed O’Connor
                                                      UNITED STATES DISTRICT JUDGE
